     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 1 of 49 Page ID #:1827



1    E. MARTIN ESTRADA
     United States Attorney
2    MACK E. JENKINS
     Assistant United States Attorney
3    Chief, Criminal Division
     SCOTT PAETTY (Cal. Bar No. 274719)
4    Assistant United States Attorney
     Deputy Chief, Major Frauds Section
5    ALI MOGHADDAS (Cal. Bar No. 305654)
     Assistant United States Attorney
6    Major Frauds Section
          1100 United States Courthouse
7         312 North Spring Street
          Los Angeles, California 90012
8         Telephone: (213) 894-6527/1786
          Facsimile: (213) 894-6269
9         E-mail:    scott.paetty/ali.moghaddas@usdoj.gov

10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
11
                              UNITED STATES DISTRICT COURT
12
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                 No. CR 23-00047-JLS-1
14
                Plaintiff,                     GOVERNMENT’S OPPOSITION TO
15                                             DEFENDANT THOMAS VINCENT GIRARDI’S
                v.                             MOTION FOR ORDER FINDING
16                                             INCOMPETENCY; EXHIBITS 1-28
     THOMAS VINCENT GIRARDI, and
17   CHRISTOPHER KAZUO KAMON,                  Hearing Date: August 23, 2023
                                               Hearing Time: 8:30 a.m.
18              Defendants.                    Location: Courtroom of the
                                               Honorable Josephine L. Staton
19

20

21         Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorneys Scott Paetty and Ali
24   Moghaddas, hereby files its opposition to defendant Thomas Vincent
25   Girardi’s motion for order finding incompetency.
26   //
27   //
28   //
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 2 of 49 Page ID #:1828



1          This opposition is based upon the attached memorandum of points

2    and authorities, the attached exhibits, the files and records in this

3    case, and such further evidence and argument as the Court may permit.

4     Dated: August 2, 2023                Respectfully submitted,

5                                          E. MARTIN ESTRADA
                                           United States Attorney
6
                                           MACK E. JENKINS
7                                          Assistant United States Attorney
                                           Chief, Criminal Division
8

9                                            /s/
                                           SCOTT PAETTY
10                                         ALI MOGHADDAS
                                           Assistant United States Attorneys
11
                                           Attorneys for Plaintiff
12                                         UNITED STATES OF AMERICA

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                              2
Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 3 of 49 Page ID #:1829
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 4 of 49 Page ID #:1830



1                            TABLE OF CONTENTS (CONTINUED)

2    DESCRIPTION                                                                  PAGE

3          B.    Defendant Has the Present Ability to Understand the
                 Proceedings Against Him and to Assist in His Defense.....36
4
           C.                   Competent
5                               ..........                                   ......39

6          D.    Commitment is Mandatory if Defendant is Found
                 Incompetent..............................................43
7
     V.    CONCLUSION....................................................43
8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                             ii
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 5 of 49 Page ID #:1831



1                                 TABLE OF AUTHORITIES

2    Cases                                                                    Page(s)

3    United States v. Kasim,
       No. 07-CR-56-PPS-APR,2010 WL 339084 (D. Ind. Jan. 21, 2010) .. 41, 42
4
     Arave v. Hoffman,
5      522 U.S. 117 (2008) .............................................. 18

6    Drope v. Missouri,
       420 U.S. 162 (1975) .............................................. 19
7
     Dusky v. United States,
8      362 U.S. 402 (1960) .......................................... 18, 37

9    Hoffman v. Arave,
       455 F.3d 926 (9th Cir. 2006) ................................. 18, 36
10
     Jones v. Covello,
11     No. 13-CV-7792-JWH, 2021 WL 4222699 (C.D. Cal. May 6, 2021) . 31, 32,
       35, 36
12
     Mata v. Johnson,
13     210 F.3d 324 (5th Cir. 2000) ................................. 18, 28

14   Sherwood v. Neotti,
       No. ED 11-CV-1728-CJC, 2020 WL 2572459 (C.D. Cal. May 21, 2020) .. 31
15
     Smith v. Armontrout,
16     812 F.2d 1050 (8th Cir. 1987) ................................ 18, 28

17   United States v. Benson,
       No. 12–CR–00480–YGR–1, 2015 WL 1869476 (N.D. Cal. Apr. 22, 2015) . 41
18
     United States v. Brown,
19     147 F. Supp. 3d 312 (E.D. Pa. 2015) .......................... 41, 42

20   United States v. Buckingham,
       2020 WL 7238273 (N.D. Ala. Dec. 9, 2020) ......................... 42
21
     United States v. DeCoteau,
22     630 F.3d 1091 (8th Cir. 2011) .................................... 19

23   United States v. Frank,
       956 F.2d 872 (9th Cir. 1991) ..................................... 19
24
     United States v. Hoskie,
25     950 F.2d 1388 (9th Cir. 1991) ................................ 18, 19

26   United States v. Lindley,
       774 F.2d 993 (9th Cir. 1985) ............................. 19, 23, 26
27
     United States v. Mackovich,
28     209 F.3d 1227 (10th Cir. 2000) ........................... 19, 28, 30

                                            iii
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 6 of 49 Page ID #:1832



1                          TABLE OF AUTHORITIES (CONTINUED)

2    DESCRIPTION                                                                  PAGE

3    United States v. Patel,
       524 F. Supp. 2d 107 (D. Mass. 2007) .............................. 41
4
     United States v. Timbana,
5      222 F.3d 688 (9th Cir. 2000) ................................. 18, 28

6    United States v. Turner,
       644 F.3d 713 (8th Cir. 2011) ..................................... 19
7
     United States v. Vallone,
8      698 F.3d 416 (7th Cir. 2012) ..................................... 41

9    Vogt v. United States,
       88 F.3d 587 (8th Cir. 1996) ...................................... 19
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                             iv
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 7 of 49 Page ID #:1833



1                        MEMORANDUM OF POINTS AND AUTHORITIES

2    I.    INTRODUCTION

3          After decades of lying to clients and misappropriating millions

4    of dollars from Girardi Keese (“GK”) trust accounts, defendant

5    Thomas Vincent Girardi’s house of cards came crashing down at the

6    end of 2020 when he and others at GK were sued by several clients

7    alleging the theft of millions of dollars from their settlement

8    funds.    When news broke, other creditors, including additional

9    clients who had likewise not received their settlements, also filed

10   suit.    As the pressure mounted from these multiple civil lawsuits,

11   GK was forced into involuntary bankruptcy by mid-December 2020.

12   Facing an avalanche of civil liability and potential criminal

13   exposure, defendant’s response shifted from the facts of his alleged

14   wrongdoing to his purported diminished mental state.            Less than one

15   month after the bankruptcy proceedings were initiated, and criminal

16   and State Bar referrals were made by federal and state judges,

17   defendant’s brother filed a petition in Los Angeles Superior Court

18   to have a conservator appointed, alleging that defendant could no

19   longer care for himself or his estate.         Without the benefit of any

20   adversarial testing, the petition was subsequently granted mere

21   months later.

22         Now, after being criminally indicted for his yearslong scheme,

23   defendant attempts to avoid being held to account for his conduct by

24   petitioning this Court to find him incompetent to stand trial.

25   However, despite defendant’s asserted incompetence, evidence of his

26   normal routine immediately leading up to the demise of GK –- years

27   after defendant claims his purported mental competency issues began

28   –- demonstrates that his instant “symptoms” are exaggerated – an
Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 8 of 49 Page ID #:1834
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 9 of 49 Page ID #:1835



1    forthcoming competency hearing, the government will show, by a

2    preponderance of the evidence, that defendant is presently competent

3    to stand trial.

4    II.   FACTUAL AND PROCEDURAL BACKGROUND

5          A.    Relevant Facts

6                1.     GK’s Financial Decline in 2019-2020

7          Before its downfall, GK was one of the preeminent plaintiff’s

8    law firms in the country.       With defendant at its helm, the firm

9    secured numerous verdicts and settlements worth hundreds of millions

10   of dollars.      Defendant held out himself and the law firm he

11   captained as successful and first-rate.          In fact, defendant and

12   others at GK were secretly stealing millions from client trust

13   accounts and lying to clients thereafter to cover it up.             While

14   defendant’s thefts of client settlement funds spanned decades, he

15   was able to conceal his fraud and lull his client-victims through

16   Ponzi—like payments from other money streaming into the firm.

17   However, in 2019 and 2020, GK’s bank accounts began to dry up as

18   settlements substantially slowed.        By March 2019, GK had less than

19   $200,000 in one of its two operating accounts, and a negative

20   balance in the other.      Worse yet, clients who were not receiving

21   funds from their settlements began to threaten defendant with

22   lawsuits and/or reporting him to the State Bar.           To hold them at

23   bay, beginning in 2019 defendant began selling off his personal

24   assets, including tens of millions of dollars in his investment

25   accounts and his $10 million ownership stake in a local casino.

26   (See Exhibits 1 and 2 attached hereto.) 2        But that was not enough to

27

28         2“Exhibit” refers to exhibits attached to this opposition.
     “Ex.” refers to exhibits attached to defendant’s motion.
                                        3
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 10 of 49 Page ID #:1836



1     satisfy his creditors or prevent further legal action against

2     defendant and GK.

3                2.     COVID-19 Pandemic and Lion Air Lawsuit

4           Once the COVID-19 pandemic shut down the courts and effectively

5     halted all litigation, including settlements, the spigot of incoming

6     cash was virtually shut off.       During the pandemic, defendant came

7     into the office every day and urged his staff to do the same.

8     Acutely aware of his mounting financial troubles, in a September

9     2020 memo, defendant told his staff:

10          Unfortunately, the “working at home” is not working. Our
            income has been reduced by 90%. Therefore, you have to
11          come back to work in the office. . . .
12
            We have to come back to the office and start settling all
13          of the smaller cases (up to $200,000.00). The larger cases
            will have to wait for the courts to reopen.
14

15          (Exhibit 3.)      The next month, defendant circulated another
16    memo, telling staff how “devastating” the pandemic was to the firm’s
17    finances, reducing income from $45-55 million the previous year to
18    less than $3.5 million.       (Exhibit 4.)    “Obviously, this has been a
19    massively difficult time for me if you are going to continue to work
20    from home.”     (Id.)    Nevertheless, defendant’s problems continued to
21    mount.
22          By December 2020, after months of empty promises, co-counsel in
23    the Lion Air plane crash case, Edelson PC, publicly filed a civil
24    RICO lawsuit against defendant and others at GK.           The lawsuit, and
25    subsequent criminal indictment in the Northern District of Illinois,
26    alleges that in early 2020, GK successfully negotiated approximately
27    $11 million in settlements for the families of victims killed in the
28    Lion Air plane crash.       Edelson PC v. Girardi et al., Case No. 20-CV-
                                              4
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 11 of 49 Page ID #:1837



1     7115 (N.D. Ill.), Dkt 1; United States v. Girardi, et al., Case No.

2     23-CR-54 (N.D. Ill.), Dkt. 1.       As alleged in the lawsuit and

3     indictment, after GK received the settlement funds directly into its

4     trust account, defendant immediately began to misappropriate the

5     money for improper purposes including paying firm expenses and AMEX

6     charges and paying other clients whose monies had been previously

7     misappropriated, including victims underlying the allegations in the

8     instant criminal matter.      (Id. at 5.)

9           As further alleged, in order to lull the Lion Air victims and

10    keep them from reporting defendant’s misconduct, defendant made

11    numerous false misrepresentations to buy himself more time.             For

12    example, in May 2020 –- after GK had already received all of the

13    settlement funds -- defendant authored a letter in which he falsely

14    told a victim that Boeing had given him “special authorization to

15    distribute 50%” and that the “balance will be done within 30 days.”

16    (Exhibit 5.)    A month later, in June 2020, defendant wrote to

17    another Lion Air victim that “[t]here are some serious issues” and

18    that he “need[s] two more weeks.        I will insist that, at least, we

19    get the interest in two weeks if I cannot resolve it.”            (Exhibit 6.)

20          Two days after the Lion Air victims and Edelson PC filed their

21    lawsuit demanding disgorgement of all monies due and owing to the

22    clients in the Lion Air matter, defendant called                        and

23    left a voicemail stating: “I saw your fraudulent allegations here.

24    This is really terrible.      I think we got clearance to send money out

25    today.   Do you want to call me?”       (Exhibit 7.)    Weeks later,

26    defendant left another voicemail for                 stating:    “I think

27    there’s been some miscommunication here.         I think that we weren’t

28    supposed to distribute until all the money was in so people would

                                              5
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 12 of 49 Page ID #:1838



1     get paid at the same time. . . . The money’s in trust. . . . Th[ere]

2     was some negligence here, it’s obviously, since I’m the head of the

3     firm, it’s my fault.      Let’s work everything out in a nice way,

4     please.”    (Exhibit 8.)

5            Defendant’s lulling letters and lies to clients, and even other

6     attorneys, were not unique to the Lion Air matter.           During this time

7     period, defendant was fielding angry calls from dozens of clients

8     and attorneys demanding their money.        For example, in July 2020,

9     defendant wrote to Client 3 in this case, falsely claiming, among

10    other things, that he was “trying desperately to get everything

11    figured out” and that “[s]ince there’s a Bankruptcy Trustee, we have

12    to get an understanding of how much goes to the Trustee and how much

13    goes to you.”    (Exhibit 9.)     As defendant then knew, Client 3 was

14    actually involved in bankruptcy proceedings and defendant and Client

15    3’s bankruptcy trustee had already negotiated the apportionment of

16    Client 3’s settlement funds (Exhibit 10 at 18 signed by defendant),

17    which the bankruptcy court had approved earlier that year (Exhibit

18    11).

19                3.   Divorce, Civil Contempt, Criminal Referral, and
                       Defendant’s and GK’s Involuntary Bankruptcy
20

21           Despite defendant’s attempts to raise additional money either

22    through the sale of his personal assets or through additional loans,

23    by December 2020, GK did not have enough money left in its operating

24    account to pay back all of the money stolen from clients or borrowed

25    from lenders.    Immediately following the Edelson lawsuit, the

26    Honorable Thomas M. Durkin, the district court judge presiding over

27    the Lion Air civil case, ordered a hearing.          In re: Lion Air Flight

28

                                              6
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 13 of 49 Page ID #:1839



1     JT 610 Crash, Case No. 18-CV-7686 (N.D. Ill.), Dkt. 843. 3           At a

2     December 14, 2020, telephonic hearing, which defendant attended,

3     defendant’s then-counsel, criminal defense attorney Evan Jenness,

4     told the court that she “advised him to decline” to answer the

5     Court’s questions about the allegations.         (Dkt. 852 at 16.)       When

6     asked whether defendant had the ability to pay the approximately $2

7     million owed to the Lion Air victims, Ms. Jenness advised that

8     defendant “does not have the immediate ability to pay.            He’s

9     involved in a divorce proceeding and he and the firm have

10    substantial outstanding legal obligations and debts.”            (Id.)

11    Finally, when Judge Durkin asked why civil sanctions should not be

12    ordered against defendant, Ms. Jenness –- for the first time -–

13    claimed that defendant was unable “to understand the nature of the

14    proceedings or to provide [her] with useful information.”            (Id. at

15    23-24.)   At the end of the hearing, the court held defendant in

16    civil contempt and made a criminal referral to the U.S. Attorney’s

17    Office. (Id. at 19; see also Dkt. 848.)

18          In addition to the criminal referral and civil contempt
19    proceedings, by December 10, 2020, defendant had also received a

20    letter from the California State Bar’s Office of the Chief Trial

21    Counsel, informing him that he was under investigation.            Five days

22    later, Los Angeles Superior Court Judge Holly Fujie issued a

23    separate order to show cause why defendant “should not be reported

24    to the California State Bar for misconduct and violation of the

25

26
            3This civil action is the underlying product liability/wrongful
27    death case based on the Lion Air crash that ultimately gave rise to
      the dispute between Edelson PC and Tom Girardi over defendant’s
28    misappropriation of funds related to that case. (See Edelson PC v.
      Girardi et al., Case No. 20-CV-7115 (N.D. Ill.).)
                                         7
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 14 of 49 Page ID #:1840



1     Rules of Professional Conduct for withholding settlement funds” in

2     another matter.     Ruigomez et al. v. Girardi et al., LASC Case No.

3     19STCV22296 (Dec. 15, 2020 OSC).        By December 18, 2020, following

4     the foregoing allegations of fraud and theft of client funds,

5     certain creditors of GK commenced an involuntary petition for

6     bankruptcy, which was subsequently granted.          In re Girardi Keese,

7     Case No. 20-bk-21022 (C.D. Cal.), Dkt. 1.

8                4.     Defendant’s Brother Files for Conservatorship

9           In January 2021, weeks after allegations of defendant’s

10    criminal conduct were made public, defendant’s brother filed a

11    petition for conservatorship in the Los Angeles Superior Court.

12    (Exhibit 12.)    In support of his request, Dr. Nathan Lavid, a

13    psychiatrist retained by defendant’s criminal defense lawyer,

14    submitted a declaration claiming defendant “suffers Alzheimer’s

15    disease with late onset.”       (Lavid at 4, available at Ex. 20 to

16    Defendant’s Motion.)      Despite requests by interested parties,

17    including the State Bar, for an independent evaluation, the probate

18    judge ordered a conservatorship over defendant’s person and estate

19    based on defendant’s purported “major neurocognitive disorder”

20    without any independent evaluation.         (See Ex. 21 to Defendant’s

21    Motion.)

22          In April 2021, Ms. Jenness asserted, in a letter to the U.S.

23    Attorney’s Office in the Northern District of Illinois, that her

24    client                                                           an

25    insufficient present ability to consult with defense counsel with a

26    reasonable degree of rational understanding.”          (Exhibit 13 at 1.)

27    She further quoted Dr. Lavid’s report, which claimed that defendant

28    “has almost no short-term memory,” and concluded that “[t]hus, he is

                                              8
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 15 of 49 Page ID #:1841



1     incapable of understanding his current legal situation[.]”            (Id. at

2     2.)   Additionally, according to Ms. Jenness, as of April 2021,

3     defendant still believed GK was operational, with 43 employees on

4     its payroll.    (Id. at 5.)     Ms. Jenness also claimed that defendant

5     had no memory of the December 2020 proceedings and, after being

6     reminded, “then completely forgets the conversation such that the

7     cycle begins afresh when he’s next told about what occurred.”             (Id.

8     at 3.)

9           Up through this time, defendant was still living by himself.

10    (Exhibit 12 at 6.)     Although defendant’s brother claimed that

11    defendant “c[ould] not care for himself,” (id.), defendant continued

12    living alone in his 10,000+ square foot Pasadena mansion for nearly

13    nine months, from November 2020, when his wife filed for divorce,

14    until August 9, 2021, when his home was listed “for sale as a part

15    of the ongoing bankruptcy proceedings.”         (Exhibit 14 at 3.)      During

16    this time, defendant entertained guests, kept his home in order, and

17    even warded off an intruder.       Indeed, according to defendant’s

18    longtime secretary,              , in approximately April 2021, during a
19    social visit at his home, defendant told                   and others about a

20    break-in that had occurred several months earlier in January 2021

21    and even showed               the broken window.     (Exhibit 15 at 2.)     In

22    fact, notwithstanding defendant’s claims of late onset dementia and

23    “almost no short-term memory,” defendant’s account of the burglary

24    was corroborated by authorities who confirmed signs of forced entry

25    through a broken window. 4                further described a subsequent

26

27          4Brandon Lowrey, Girardi Pasadena Mansion Burglarized, Police
      Say, Law360, Feb. 3, 2021, available at
28    https://www.law360.com/articles/1351805/girardi-s-pasadena-mansion-
      burglarized-police-say.
                                         9
Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 16 of 49 Page ID #:1842
Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 17 of 49 Page ID #:1843
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 18 of 49 Page ID #:1844



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                             12
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 19 of 49 Page ID #:1845



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23               2.

24

25

26

27

28

                                             13
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 20 of 49 Page ID #:1846



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                             14
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 21 of 49 Page ID #:1847



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                             15
Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 22 of 49 Page ID #:1848
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 23 of 49 Page ID #:1849



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
            9
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 24 of 49 Page ID #:1850



1     III. LEGAL STANDARD

2           A defendant is competent to stand trial if “he understands the

3     proceedings and is able to assist counsel in his defense.”            Hoffman

4     v. Arave, 455 F.3d 926, 937 (9th Cir. 2006) (citing Dusky v. United

5     States, 362 U.S. 402 (1960) (overruled on other grounds, Arave v.

6     Hoffman, 522 U.S. 117 (2008).       The burden is on the government to

7     prove competence by a preponderance of the evidence.           United States

8     v. Hoskie, 950 F.2d 1388, 1392 (9th Cir 1991).

9           The standard for the court to use in assessing competence is

10    whether defendant has “sufficient present ability to consult with his

11    lawyer with a reasonable degree of rational understanding – and

12    whether he has a rational as well as factual understanding of the

13    proceedings against him.”       Dusky v. United States, 362 U.S. 402, 402

14    (1960).   Mental deficiencies alone do not render an individual

15    incompetent to stand trial.       Hoffman, 455 F.3d at 938 (“The standard

16    for competency to stand trial is lower than the standard for capacity

17    to commit a crime.”).      In fact, the Ninth Circuit has upheld a

18    district court’s determination that a defendant was competent to
19    stand trial despite suffering brain damage due to head trauma,

20    borderline retardation, and dementia combined with partial paralysis.

21    See United States v. Timbana, 222 F.3d 688, 701 (9th Cir. 2000).

22    Other circuits have similarly held that evidence of mental disease,

23    disorder, or defect does not, in and of itself, mean a defendant is

24    incompetent.    Smith v. Armontrout, 812 F.2d 1050, 1057 (8th Cir. 1987

25    (noting that it is possible that a defendant may have a mental

26    disease, disorder, or defect, but may still be competent); Mata v.

27    Johnson, 210 F.3d 324, 329 n.2 (5th Cir. 2000) (stating that presence

28    or absence of mental illness or brain disorder is not dispositive);

                                             18
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 25 of 49 Page ID #:1851



1     United States v. Mackovich, 209 F.3d 1227, 1233 (10th Cir. 2000)

2     (noting that the Tenth Circuit Court of Appeals has long recognized

3     that a defendant is not necessarily incompetent simply because he

4     suffers from a mental disease or defect).         Thus, not every

5     manifestation of cognitive impairment demonstrates incompetency to

6     stand trial.    United States v. Turner, 644 F.3d 713, 725 (8th Cir.

7     2011).

8           Neither low intelligence nor mental deficiency compels a finding

9     of incompetency to stand trial.        Vogt v. United States, 88 F.3d 587,

10    591 (8th Cir. 1996); United States v. DeCoteau, 630 F.3d 1091, 1095-

11    96 (8th Cir. 2011) (finding defendant competent to stand trial

12    notwithstanding low IQ scores of 55 to 57 that placed defendant in

13    the “mild mental retardation range”).         Although defense counsel’s

14    observations are probative, the Court need not accept a lawyer’s

15    representations concerning a client’s competence.           Drope v. Missouri,

16    420 U.S. 162, 177 n.13 (1975).

17          A district court’s finding that a defendant is competent to

18    stand trial is a question of fact which is reviewed for clear error.
19    United States v. Hoskie, 950 F.2d 1388, 1392 (9th Cir. 1991).

20    Evidence supporting a district court’s finding of competence is

21    reviewed in the light most favorable to the government, United States

22    v. Frank, 956 F.2d 872, 874 (9th Cir. 1991), and the court has the

23    discretion to assign whatever weight it deems appropriate to the

24    findings of the experts produced by the parties, United States v.

25    Lindley, 774 F.2d 993, 993 (9th Cir. 1985).

26

27

28

                                             19
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 26 of 49 Page ID #:1852



1     IV.   ARGUMENT

2           Qualified experts have concluded that defendant is competent to

3     stand trial based on thorough evaluations.          Although defendant shows

4                       , his claims of legal incompetence are exaggerated and

5     fail in the face of concrete evidence of malingering and

6

7           A.     Defendant Is Malingering and Exaggerating His Symptoms To
                   Avoid a Possible Trial or Imprisonment
8

9           In the years leading up to December 2020, defendant juggled

10    hundreds of cases at GK, made numerous court appearances on complex

11    matters, negotiated millions in loans from litigation lenders, and,

12    most importantly, continued to successfully keep his ongoing

13    fraudulent scheme a secret from the public.          Defendant’s experts

14    completely ignore the context in which defendant’s purported

15    arose -- that is, only after his legal problems and financial debts

16    were threatening to ruin him.       Their failure to address this

17    suspicious timing and the fact that legal incompetence conveniently

18    provides a way for defendant to evade accountability is a significant

19    flaw in their analysis.       Defendant’s experts also ignore the

20    precipitous –- and, thus, incredible -- rate at which

21                                         developed.     Defendant’s public

22    interactions both at work and socially do not support his claimed

23    incompetency in 2020 or any steep decline resulting in incompetence

24    today.     To the contrary,

25

26    support the conclusion that defendant is exaggerating the effect of

27    any

28

                                             20
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 27 of 49 Page ID #:1853



1                1.    Defendant’s Public Interactions Before and After His
                       Conservatorship in January 2021 are Inconsistent with
2                      His Claimed Symptoms and Show Malingering

3
            Defendant’s motion repeatedly cites his 2017 accident as the
4
      impetus of his                           .   However, in the years
5
      following 2017 and leading up to defendant’s conservatorship in
6
      early 2021, defendant was acutely aware of his outstanding debts to
7
      both clients and creditors.       He continued to create excuses for
8
      delays, including through lulling letters and lulling payments that
9
      he directed his staff to send.
10
            For example, as alleged in the indictment, defendant lulled
11
      Client 1 with nominal payments, including a $100,000 check in 2017,
12
      and letters containing calculated lies.         In a 2017 letter from
13
      defendant to Client 1, defendant claimed that “the only way we were
14
      able to settle this case was a commitment by me that I would make
15
      sure that the funds were used properly.         [Justice Panelli] indicated
16
      that he knew many young men who got a large amount of money and it
17
      ended up in a total disaster.”       (Exhibit 20.)     Defendant’s reference
18
      to retired California Justice Edward Panelli, who was in fact the
19
      mediator used in Client 1’s case, was a common tactic he used to
20
      dissuade suspecting clients of any foul play.          Later, in 2018,
21
      defendant successfully negotiated a settlement of Client 3’s lawsuit
22
      related to injuries caused by a defective medical device.            (Dkt. 1,
23
      Indictment at 11.)     Like many medical malpractice lawsuits, this case
24
      was complicated and involved sophisticated defense counsel, yet
25
      defendant effectively navigated complicated settlement discussions
26
      and successfully settled claims for 25 GK clients, including Client
27
      3.   Indeed, as referenced supra Section II.A.2, that defendant was
28

                                             21
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 28 of 49 Page ID #:1854



1     able to invent a lie specific to Client 3, who was actually involved

2     in a personal bankruptcy, demonstrates his mental acuity.

3           Then in 2020, defendant was also attempting to assuage the Lion

4     Air victims and co-counsel, who were growing exceedingly suspicious

5     that their settlement funds had been stolen.          In multiple letters,

6     defendant continued to lie about delays in payments, notwithstanding

7     GK’s full receipt of the settlement funds, by inventing detailed

8     false excuses.     (See, e.g., Exhibit 5 (“We made an agreement with

9     Boeing that all of the cases would be resolved.          They gave us special

10    authorization to distribute 50%.        I feel fairly confident the balance

11    will be done within 30 days.”); Exhibit 6 (“There are some serious

12    issues.   I have been back east four times to get everything resolved.

13    I think I need two more weeks.       I will insist that, at least, we get

14    the interest . . .”).)      Again, defendant’s ability to juggle the

15    dozens of angry clients who were calling him on a near daily basis,

16    and to build upon the previous lies he had told them no less,

17    demonstrates how high-functioning defendant was.           (See, e.g., Exhibit

18    16 (voicemail from defendant in August 2020 falsely claiming that a
19    payment was delayed by court closure), Exhibit 17 (voicemail from

20    defendant in November 2020 falsely claiming that a payment was

21    delayed by a purported tax issue), Exhibit 18 (letter from defendant

22    in October 2020 re: same).)

23          Defendant’s capabilities during this time period are also

24    confirmed by witness accounts, including people who had frequent

25    interactions with him.      For example,                    , a longtime

26    business partner of defendant who loaned defendant and GK millions of

27    dollars, stated that over the course of their relationship, he never

28    had any odd interactions or suspicions, where he thought defendant

                                             22
Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 29 of 49 Page ID #:1855
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 30 of 49 Page ID #:1856



1            The foregoing is corroborated by video footage of defendant

2     himself, including footage from 2019 and 2020,

3                                           For example, in behind-the-scenes

4     footage of defendant in October 2019, defendant is seen regaling his

5     ex-wife and her friends with stories of his trials and his encounters

6     with celebrities.     (Exhibit 22.)     Other stories defendant cogently

7     told and topics he cogently discussed during this one-hour video

8     include:

9                •   His thoughts about challenges women have faced and
10                   statistics of women in his graduating law school class

11                   (starting at 2:00 and again at 12:10);

12               •   His appointment to the Library of Congress and
13                   interactions with Senator Harry Reid (starting at 8:55);

14               •   His experiences as a trial lawyer (starting at 15:00 and
15                   again at 27:10);

16               •   His interactions with John Wayne (starting at 22:40);
17               •   Stories about Sammy Davis Jr., Frank Sinatra, and Don
18                   Rickles (starting at 42:30); and

19               •   Upcoming plans for a settlement conference and Las Vegas
20                   trip (starting at 47:15).

21           Defendant’s stable cognitive functioning and comprehension

22    continued into late 2020, when defendant sat for two depositions

23    related to Client 1’s settlement funds.         During the depositions, one

24    of which was videotaped, defendant clearly tracked his testimony,

25    making accurate reference to inquiries and responses from previous

26    points in the examination.        (See Exhibits 23 and 24; Goldstein at 54-

27    55.)    The following month, defendant also participated in a one-hour

28    interview on a podcast where he described various trial strategies in

                                             24
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 31 of 49 Page ID #:1857



1     detail, (Exhibit 25), and in November 2020, just two months before

2     defendant’s petition for conservatorship, defendant moderated a 90-

3     minute virtual panel with prominent plaintiff lawyers discussing

4     various aspects of trials, (Exhibit 26).         Again, during these

5     conversations he tracked the questions and topics without difficulty,

6     making relevant comments and references to past points of the

7     discussion.    He even made jokes and told his favorite trial stories.

8           During the entirety of this period, defendant was also living

9     alone in his 10,000+ square foot estate without any need for

10    assistance with his activities of daily living, e.g., using the

11    bathroom, showering, eating, or dressing.         However, notwithstanding

12    defendant’s completely independent lifestyle, and continued

13    management of the legal and financial affairs of GK, immediately

14    following the bombshell allegations of defendant’s theft, the

15    criminal referral, and the involuntary bankruptcy proceedings, in

16    December 2020, defendant’s criminal defense attorney claimed that he

17    was incompetent and had no appreciation for the state of his affairs.

18    Defense-led evaluations followed and mere months later, by March
19    2021, defendant’s retained expert concluded that defendant had

20    “almost no short-term memory.”       Nevertheless, the very next month, in

21    April 2021, during a social visit from defendant’s former secretary,

22    defendant provided a detailed account of a break-in that occurred

23    months earlier.     Indeed, the record is replete with examples of

24    defendant’s ability to access his short-term memory when he thinks

25    evaluators are not paying attention.

26

27

28

                                             25
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 32 of 49 Page ID #:1858



1                                          In fact, his wife was traveling to

2     Spain as part of her role on her reality TV series.           This clearly

3     demonstrated defendant’s ability to refer back to prior

4     conversations and ability to access such short-term memories.

5

6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21          Defendant’s ability to retain information, including the

22    allegations against him, is also clearly demonstrated in his December

23    2020 and January 2021 voicemails to                    .   During this time,

24    defendant’s criminal defense attorney claimed that he had no

25    appreciation for the nature of the proceedings, yet two days after

26    the civil lawsuit was filed, defendant called                  stating that he

27    “saw [the] fraudulent allegations.”         (Exhibit 7.)    A few weeks later

28    he left another voicemail acknowledging his liability, stating that

                                             26
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 33 of 49 Page ID #:1859



1     there “was some negligence here, it’s obviously, since I’m the head

2     of the firm, it’s my fault.”       (Exhibit 8.)     These voicemails make

3     clear that defendant’s short-term memory, and his general

4     appreciation of outstanding legal matters, are intact.

5           Meanwhile, defendant’s criminal defense attorney engaged medical

6     experts to evaluate his competency.         The defense’s experts deemed him

7     mentally incompetent although they reached this conclusion without

8     the benefit of defendant’s full medical records or, any consideration

9     of the chronology of events leading up to the closure of GK.

10    Instead, they simply took defendant at his word, did not conduct any

11    performance validity testing, and did not question the veracity of

12    his claimed symptoms at all.       Their failure to consider malingering,

13    via validity tests, and to consider the relevant chronology casts

14    doubts on their conclusions.       Indeed, the scale and speed at which

15    defendant’s purported cognitive decline occurred from late 2020 to

16    early 2021 is a radical departure from the normal trajectory of any

17    progressive neurological disease, be it MCI or dementia.

18
19

20

21

22

23

24

25

26    Simply put, there is no plausible basis upon which to assert that

27    defendant’s mental condition deteriorated that fast.

28

                                             27
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 34 of 49 Page ID #:1860



1           The explanation for defendant’s claimed extraordinary decline

2     from late 2020 to now is clear: defendant is exaggerating the extent

3     of any mental decline he may be actually experiencing as an

4     octogenarian.    And, as discussed infra Section IV.C., regardless of

5     defendant’s precise diagnosis, he has sufficient mental acuity to be

6     found competent to stand trial.        This conclusion comports with

7     precedent, both in this circuit and others, that a mental impairment

8     alone does not equal incompetence.          See e.g., Timbana, 222 F.3d at

9     701 (defendant competent to stand trial despite suffering brain

10    damage, borderline retardation, partial paralysis, and dementia);

11    Smith, 812 F.2d at 1057 (a defendant may have a mental disease,

12    disorder, or defect, but may still be competent); Mata, 210 F.3d at

13    329 n.2 (presence or absence of mental illness or brain disorder is

14    not dispositive in determining competence); Mackovich, 209 F.3d 1227

15    at 1233 (a defendant is not necessarily incompetent simply because he

16    suffers from a mental disease or defect).

17          While defendant may argue that his conduct described above took

18    place in late 2020 and early 2021 and his cognitive abilities have
19    since radically declined,

20

21

22

23

24

25

26

27

28

                                             28
Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 35 of 49 Page ID #:1861
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 36 of 49 Page ID #:1862



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                             30
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 37 of 49 Page ID #:1863



1

2

3

4

5

6

7

8

9

10                                                             Indeed, Dr. Lavid’s

11    prior opinions have been called into question by several courts

12    evaluating the reliability of his findings.          See, e.g., Sherwood v.

13    Neotti, No. ED 11-CV-1728-CJC, 2020 WL 2572459, at *3 (C.D. Cal. May

14    21, 2020), aff’d, No. 20-55636, 2021 WL 4948930 (9th Cir. Oct. 25,

15    2021) (faulting Dr. Lavid’s opinion of incompetence and noting his

16    opinion of incompetence was “at odds with the [direct] evidence”);

17    Jones v. Covello, No. 13-CV-7792-JWH, 2021 WL 4222699, at *11, 20

18    (C.D. Cal. May 6, 2021) (criticizing Dr. Lavid’s opinions, including
19    his opinion that defendant was not malingering despite reports of

20    malingering in the record).

21

22

23

24

25

26

27

28

                                             31
Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 38 of 49 Page ID #:1864
Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 39 of 49 Page ID #:1865
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 40 of 49 Page ID #:1866



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                             34
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 41 of 49 Page ID #:1867



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                             35
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 42 of 49 Page ID #:1868



1

2

3

4

5           B.     Defendant Has the Present Ability to Understand the
                   Proceedings Against Him and to Assist in His Defense
6

7           Defendant has the present ability to understand the proceedings

8     against him and aid in his defense.

9

10

11

12

13

14

15

16

17

18
19

20          While the government does not dispute that defendant, an 84-

21    year-old man,                                                           that

22    alone does not meet the standard for legal incompetency.            Rather, a

23    defendant need only be able to understand the proceedings against him

24    and to assist in his defense in order to be found competent to stand

25    trial.     Hoffman, 455 F.3d at 927.     And while defendant has attempted

26    to obscure his true abilities, his unprompted responses to the

27    evaluators and other inadvertent tells demonstrate his “reasonable

28    degree of rational understanding,” including his factual

                                             36
Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 43 of 49 Page ID #:1869
Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 44 of 49 Page ID #:1870
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 45 of 49 Page ID #:1871



1

2

3

4

5

6           C.             t is Competent

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                             39
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 46 of 49 Page ID #:1872



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18
19

20

21          In light of the evidence of malingering, defendant’s

22    impairment is less significant than the impairments, including

23    Alzheimer’s and dementia, that numerous courts have recognized do not

24    prevent a defendant from possessing a rational and factual

25    understanding of the proceedings against them and having the ability

26    to consult with counsel with a reasonable degree of rational

27    understanding.     See, e.g., United States v. Brockman, No. 21-CR-9,

28    ECF 263, (S.D. Tex. filed May 23, 2022) (finding an 80-year old

                                             40
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 47 of 49 Page ID #:1873



1     defendant with Parkinson’s disease and cognitive impairment to be

2     competent due to malingering); United States v. Dreyer, No. 08-41-

3     VAP, ECF 279 (C.D. Cal. filed Apr. 19, 2014) (finding a defendant

4     with a brain hemorrhage and previous dementia diagnosis competent);

5     United States v. Kight, No. 16-99-AT-LTW, ECF 118 (N.D. Ga. filed

6     Feb. 2, 2018) (same); United States v. Bradley, No. 05-CR-59-JRH-CLR,

7     ECF 349 (S.D. Ga. filed Jan. 24, 2006) (defendant with dementia and

8     memory issues found competent); United States v. Benson, No. 12–CR–

9     00480–YGR–1, 2015 WL 1869476 (N.D. Cal. Apr. 22, 2015) (defendant

10    with alleged dementia and evidence of malingering found competent);

11    United States v. Patel, 524 F. Supp. 2d 107 (D. Mass. 2007)

12    (defendant with memory issues, alleged dementia, and evidence of

13    malingering found competent); United States v. Chun, No. 17-CR-

14    204510-VAR-MKM, ECF 87 (E.D. Mich. filed Dec. 6, 2019) (finding a

15    malingering defendant with MCI competent); United States v. Kasim,

16    No. 07-CR-56-PPS-APR, 2010 WL 339084 (D. Ind. Jan. 21, 2010) (finding

17    a likely malingering defendant competent after previous order found

18    defendant incompetent with dementia); see also United States v.
19    Vallone, 698 F.3d 416, 508-511 (7th Cir. 2012) (finding defendant

20    with Alzheimer’s and dementia competent).

21          Defendant cites two cases in support of his argument for a

22    finding of incompetency.      (Mot. at 34-37.)      These cases present

23    different facts and procedural postures than are present here and are

24    not persuasive.     In United States v. Brown, 147 F. Supp. 3d 312, 325

25    (E.D. Pa. 2015), there was no dispute that the defendant had dementia

26    due to Alzheimer’s.     Experts retained by both the government and

27    defense agreed that defendant was not competent.           Id. at 326.

28    Moreover, the government further agreed that the defendant would not

                                             41
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 48 of 49 Page ID #:1874



1     be competent to stand trial in the future.          Id.    And, notably, the

2     issue was brought before the court via an unopposed motion by the

3     government to dismiss the superseding indictment in that case.             Id.

4     Such is not the case here where, as discussed above, competency is

5     disputed, and the evidence strongly suggests defendant is

6     malingering.

7           The same is true of United States v. Buckingham, 2020 WL 7238273

8     (N.D. Ala. Dec. 9, 2020), where the only two experts who evaluated

9     Buckingham both agreed that he suffered from dementia that rendered

10    him incompetent.     Id. at *2-3.    And, unlike the instant facts, the

11    court in both Brown and Buckingham agreed that the defendants were

12    not malingering.     United States v. Brown, 147 F. Supp. 3d 312, 325

13    (E.D. Pa. 2015) (“During the course of Defendant's extensive testing,

14    malingering measures and embedded measures sensitive to malingering

15    did not support the conclusion that Defendant is feigning her memory

16    impairment.”); United States v. Buckingham, No. 2:18-CR-376-RDP-SGC-

17    2, 2020 WL 7238273, at *2 (N.D. Ala. Dec. 9, 2020) (“Defendant's

18    cognitive deficiencies were not the result of malingering or any
19    other disorder.”).

20          Thus, regardless of whether defendant has

21                       based on the evidence before this Court, defendant’s

22    true capabilities reveal that he has a rational and factual

23    understanding of the charges he faces and the relevant proceedings to

24    come, and is able to consult meaningfully and rationally with his

25    counsel if he so chooses.                                 His feigned denial of

26    his current legal and financial troubles is willful and deliberate.

27    This Court should find him competent.

28

                                             42
     Case 2:23-cr-00047-JLS Document 111 Filed 08/18/23 Page 49 of 49 Page ID #:1875



1           D.   Commitment is Mandatory if Defendant is Found Incompetent

2           Notwithstanding defendant’s request to forego commitment if he

3     is found incompetent, pursuant to 18 U.S.C. § 4241(d), commitment is

4     mandatory.    “If, after the hearing, the court finds by a

5     preponderance of the evidence that the defendant is presently

6     suffering from a mental disease or defect rendering him mentally

7     incompetent to the extent that he is unable to understand the nature

8     and consequences of the proceedings against him or assist properly in

9     his defense, the court shall commit the defendant to the custody of

10    the Attorney General.”      § 4241(d).      The Attorney General shall

11    hospitalize the defendant for treatment in a suitable facility for

12    such a reasonable time, not to exceed four months, as is necessary to

13    determine whether there is substantial probability that in the

14    foreseeable future, he will attain the capacity to permit the

15    proceedings to go forward.       Id.

16    V.    CONCLUSION

17          For the reasons set forth above, after conducting the competency

18    hearing and upon review of the evidence, the United States requests
19    the Court find that defendant competent to stand trial.

20

21

22

23

24

25

26

27

28

                                             43
